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Counsel to Secured Creditors Packo Investments,
Inc., Allen Park, Mohamed Sanfaz, and

The Bae Family Trust
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
LOS ANGELES DIVISION
In re: ) Case No.: 2:20-bk-17433-VZ
)
JONG UK BYUN, ) Chapter 11 Case

)

Debtor and Debtor-in-Possession.

Desc

NOTICE OF JOINT MOTION AND
JOINT MOTION BY JUNIOR

LIENHOLDERS AND DEBTOR TO
DISMISS CHAPTER 11 CASE;

AUTHORITIES; SUPPORTING

DECLARATIONS

) Date: April 19, 2022

) Time: 11:00 A.M.

) Place: Crirm. 1368

255 E. Temple Street,

Nee Nene Nee”

)
)
)
) MEMORANDUM OF POINTS AND
)
)
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Los Angeles, CA 90012

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TO THE HONORABLE VINCENT ZURZOLO, UNITED STATES
BANKRUPTCY JUDGE AND ALL INTERESTED PARTIES:

PLEASE TAKE NOTICE that a hearing will be held at the above-referenced date, time,
and location for the Court to consider this motion (the “Motion”) filed jointly by David W.
Meadows, counsel for Packo Investments (“Packo”), Allen Park (“Park”), The BAE Family Trust
(“BAE Trust”), and Mohamed Sanfaz (“Sanfaz’”) (collectively, the “Junior Lienholders”) and the

above-referenced debtor and debtor in possession (the “Debtor”) (together with the Junior
Lienholders, the “Movants’’), for an order (1) dismissing the Debtor’s Chapter 11 bankruptcy case
conditioned upon (a) the payment in full of all outstanding quarterly fees owed to the United
States Trustee (the “OQUST’”) in advance of the dismissal date, (b) the payment of reasonable and
documented professional fees incurred by counsel to the Debtor upon request by an objecting
party, and (c), authorization for payment and payment in fact of the amounts set forth below to
the Debtor’s secured creditors, in their order of priority, subject to provisions described in the
Motion.

PLEASE TAKE FURTHER NOTICE that this Motion is based on this Notice of
Motion and Motion, the Memorandum of Points and Authorities and Declaration of the Debtor
and others, including Gary Kuwada whose declaration is submitted without a voluminous
exhibit, and is based on, inter alia, 11 U.S.C. §§ 105, 349, and 1112(b), Fed.R.Bankr.P. 2002,
and Local Bankruptcy Rule (“LBR”) 9013-1.

PLEASE TAKE FURTHER NOTICE that, pursuant to LBR 9013-1(£), any opposition
to this Motion must (1) be in writing and include all reasons and evidence in support of the
opposition, (2) be filed at least fourteen (14) days prior to the hearing on this Motion, and (3) be
served on the OUST, and counsel for the Debtor.

PLEASE TAKE FURTHER NOTICE that, pursuant to LBR 9013-1(h), the Court may
deem the failure of any party to file a timely opposition to this Motion to constitute consent to

the granting of the Motion and the relief requested herein.

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WHEREFORE, the Movants respectfully request that the Court enter an order:

(1) granting the Motion in its entirety;

(2) dismissing the Debtor’s Chapter 11 bankruptcy case conditioned upon (a) the
payment in full of all outstanding quarterly fees owed to the United States Trustee (the “OUST”)
in advance of the dismissal date, (b) the payment of reasonable and documented professional fees
incurred by counsel to the Debtor upon request by any objecting party, and (c), authorization for
payment and payment in fact of the amounts set forth below to the Debtor’s secured creditors, in
their order of priority. subject to provisions described in the Motion.

(3) affirming the post-dismissal effectiveness of all Bankruptcy Court orders;

(4) providing that disbursements are to be made by the Debtor within 14 days after
entry of the Court’s order approving this Motion and, if there is no appeal of such order, this case
is dismissed and the clerk of the Court should enter dismissal of the case after the Debtor files a
declaration that all disbursements have been made; and,

(5) granting such other and further relief as the Court deems just and proper.

Dated: March 29, 2022 THE ORANTES LAW FIRM, P.C.

By: /s/ Giovanni Orantes

GIOVANNI ORANTES
Attorney for Debtor, Jong Uk Byun
Dated: March 29, 2022
LAW OFFICES OF DAVID W. MEADOWS

By: Visscd W. Werdouxe

DAVID W. MEADOWS

Attorney for Creditors, Packo Investments,
Inc., Allen Park, The Bae Family Trust, and
Mohamed Sanfaz

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MEMORANDUM OF POINTS AND AUTHORITIES

I.
STATEMENT OF FACTS

A. BACKGROUND.

1. The Debtor filed a voluntary petition under Chapter 11 of the Bankruptcy Code on
August 14, 2020 (the “Petition Date”).

2. Hyundai Steel Company’s (“Hyundai”), as the senior lien holder first in title of
the Debtor’s real property commonly known as (1) 8201 Santa Fe Avenue, Huntington Park, CA
(2) 1736 E. 24th Street, Los Angeles, CA, (3) 2203 South Alameda Street, Los Angeles, CA, and
(4) 2445 South Alameda Street, Los Angeles, CA (collectively, the “Los Angeles Properties”)
had a first priority interest of all rents generated by the Los Angeles Properties.

3. On October 29, 2020, the Court granted Hyundai Motion for Relief from Stay, by
the Order Granting Motion for Relief from the Automatic Stay Under 11 U.S.C. § 362 (Real
Property) (Docket No. 115) (the “Stay Relief Order”). Hyundai scheduled a foreclosure auction
all of the Debtor’s Los Angeles properties for 11:00 a.m. on October 21, 2021, behind the fountain
located in Civic Center Plaza, 400 Civic Center Plaza, Pomona, California (the “Foreclosure
Auction”).

4, On June 17, 2021, the Debtor and Hyundai entered into a Stipulation Authorizing
the use of Cash Collateral for the purpose of obtaining an environmental assessment of the
property known as 8201 Santa Fe Avenue, Huntington Park, CA, (the “8201 Santa Fe
Property”) which the Court granted on June 18, 2021 by the Order Granting the Stipulation to
Authorize use of Cash Collateral (Docket No. 291).

5. On October 19, 2021, the Debtor and Hyundai entered into an amended Stipulation
Authorizing the use of Cash Collateral (Docket No. 358) (the “Amended Cash Collateral
Stipulation”), and in exchange for the continuance of the Foreclosure Auction to December

20201, the Debtor would pay to Hyundai all accumulated and future rent cash collateral from the

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Los Angeles properties up to December 2021. On October 20, 2021, the Court entered that Order
Granting the Amended Cash Collateral Stipulation (Docket No. 366).

6. On December 22, 2021, the Court issued the Order Granting Motion for Sale of
8201 Santa Fe Avenue, Huntington Park, CA (the “Property”) (Docket No. 446) (the “Sale
Order”).

7. On December 31, 2021, pursuant to the terms of the Sale Order and upon signature
of the Debtor, the Sum Certain of $26,075,000 was paid to Hyundai, $1,307,793.57 was paid to
Toni Ko and $1,741,263.22 to Packo all out of escrow via wire transfer.

8. On January 13, 2022, Packo received a second transfer from escrow in the amount
of $38,665.00. With Hyundai’s claim fully satisfied, the Junior Lienholders now have claim to
the remaining proceeds of the Sale Order and holders of deeds of trust with assignments of rents
have a claim on the rents generated from the remaining Los Angeles Properties as they are next
in line on title.

9. However, the sale of the Santa Fe Property incurred United States Trustee quarterly
fees of $249,658.00 (the “Quarterly Fee”), which requires the Debtor to obtain permission or
authorization to use cash collateral, whether from remaining proceeds from the sale of the Santa
Fe Property or rents from the remaining parcels that are subject to rents provisions included in
deeds of trust held by consensual lien holders, in order to pay the Quarterly Fee. (The Debtor’s
non-rental income is de minimus.)

10. On January 20, 2022, the Debtor filed that Motion For Order Releasing Funds Held
Back During Closing Of Sale Of The Real Property Commonly Known As 8201 Santa Fe Avenue,
Huntington Park, Ca 90255 Free And Clear Of Liens, Claims, Interests, And Encumbrances Of
Any Nature Whatsoever Pursuant To 11 U.S.C. § 363 (Docket No. 472) (the “Release of Funds
Motion’’) to use the holdback funds (the ““Holdbacks”) remaining from the sale of the Santa Fe
Property to pay the amount authorized to be paid to Packo pursuant the Sale Order. The amount
stated in the Sale Order did not provide for the full and complete payment of Packo. Specifically,
it omitted pre-petition legal fees (that had been approved as part of the Packo proof of claim) and

it omitted post-petition legal fees. These fees included not only substantial efforts by Packo in

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connection with the sale, both initial opposition to the sale and then in connection with efforts for
it to close, but also substantial efforts following the closing of the sale. For example, counsel to
Packo provided the legal research and the drafting of the tax provisions included in the Release
of Funds Motion. Packo’s counsel also has worked with the Debtor toward the development of
this motion, including in its drafting. Consequently, the “waterfall” presented below states an
additional amount to be paid to Packo, which will be deemed full satisfaction of the Packo claim

11. On January 27, 2022, Kelly L. Morrison, Esq. of the Office of the United States
Trustee contacted the Debtor’s counsel to advise of the Quarterly Fee owed of $249,658.00.

12. On March 1, 2022, the Court granted the Release of Funds Motion.

13. On March 8, 2022, the Court entered the order of the Release of Funds Motion.

14. On March 9, 2022, as a result of the entered order on the Release of Funds Motion,
Packo received a payment in the amount of $1,464,729.34. Packo has a remaining secured claim
estimated to be in the amount of approximately $150,000. The balance of the Holdbacks was
deposited, as ordered by the Court, in a trust account of Debtor’s counsel.

15. The remaining real estate assets of the estate ostensibly have a value of
$15,000,000. However, as the Debtor attests in his attached Declaration of Jong Uk Byun, they
have contaminated underground water, which has previously limited to a small fraction of that
amount the purchase price at which the properties could even be sold so as to get a net amount
sufficient to pay the remaining creditors after capital gains taxes. By contrast, continuing to lease
the properties and draw rent from them can result in payment to the remaining creditors, even if
with monthly payments over a number of years.

B. THE JOINT MOTION FOR DISMISSAL OF THE CHAPTER 11 CASE.

1. The non-administrative claims bar date expired on December 22, 2020.
2. At this time, the following proofs of claim have been settled, amended to $0, paid

off, filed after the Bar Date or withdrawn:

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Proof
of Amount
Creditor Claim Status Paid
Los Angeles County 1 On March 15, 2022, the Los Angeles $1,373,521.04
Treasurer and Tax County Treasurer and Tax Collector
Collector amended its proof of claim to update the
claim amount after the sale of the 8201
Santa Fe Property from $1,373,521.04 to
$453,592.48. Further, the attachments to
the County’s amended Proof of Claim state,
“Tax defaulted in 2014 for unpaid taxes and
now deemed ‘subject to power to sell’.
(Claim 1)
Los Angeles County 2 The Los Angeles County Treasurer and Tax N/A
Treasurer and Tax Collector withdrew this proof of claim.
Collector
Internal Revenue 7 The Claim was amended by the Internal N/A
Service Revenue Service on November 30, 2020, to
$0.
Quantum3 Group 8 Claim was paid off by a third party on $35.02
LLC as agent for behalf of the Debtor.
GPCC I LLC
Toni Ko (2"4 12 The claim was paid off through escrow from | $1,741,263.22
position secured the sale of the 8201 Santa Fe Property.
creditor)
Packo Investments 13 The claim was substantially paid but not $3,244,657.56
fully paid through escrow from the sale of
the 8201 Santa Fe Property. Adjacent
column shows the amount paid to Packo as
of the date of this Motion.
M&A Equities, LLC 14 The claim was disallowed by entry of an N/A
Order Granting the Motion to Disallow the
Claim (Docket No. 208) on February 11,
2021.
Hyundai Steel 19 The claim was paid off through escrow from $26,075,000.00
Company the sale of the 8201 Santa Fe Property.
Marco Rivera 21 This claim was filed on October 7, 2021; N/A
after the Bar Date for claims on February 1,
2021.
Total
$32,434,476.84
3. As aresult, only the following proofs of claim are still not dealt with:
Proof of
Claim
Creditor No. Status Claim Amount
Los Angeles County 1 As above, the Los Angeles County $453,592.48
Treasurer and Tax Treasurer and Tax Collector amended
Collector its proof of claim on March 15, 2022 to
update the claim amount after the sale

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Proof of
Claim
Creditor No. Status Claim Amount

of the 8201 Santa Fe Property from

$1,373,521.04 to $453,592.48, and

indicate that each of the Debtor’s

remaining parcels of property are

subject to sale
Wells Fargo Bank 3 Secured by personal property only. $15,351.27
N.A., d/b/a Wells
Fargo Auto
Packo 13 Secured; remaining portion $150,000.00
Southern Counties Oil, 4 Secured $14,213.24
Co.
County Of San 5 Unsecured. $56,635.33
Bernardino
State Compensation 13 Unsecured. $184,726.52
Insurance Fund
Resnik Hayes Moradi 9 Unsecured $74,859.50
LLP
Bank of Hope 11 Unsecured $460,140.29
BAE Family Trust 15 Secured $1,517,633.33
Mohamed Sanfaz 16 Secured on Santa Fe proceeds only $465,488.43
Allen Park 17 Secured $144,777.78
Kap Chan Chong 18 Secured $97,773.38
U.S. Small Business 20 This claim was filed after the 12/22/20 $96,904.91
Administration Bar Date for claims on February 1,

2021

Total | $3,582,096.46

A true and correct copy of the claims register in the Debtor’s case is attached as Exhibit

“1” to the Declaration of Giovanni Orantes appended hereto.

4. In sum, out of $35,978,908.30 in total debts under the proofs of claim, the Debtor

has paid 90.04% and only 9.96% remains owed while claims without proofs of claims are small.

5. Pursuant to this Motion, the Movants jointly request that the Debtor’s Chapter 11

case be dismissed after distributing the remaining net proceeds of the sale of the 8201 Santa Fe
Avenue Property and paying out of cash collateral! the administrative claims of the U.S. Trustee

and of counsel for the Debtor, who assiduously pursued the sale of the 8201 Santa Fe Avenue

1 The cash collateral consists of rents received from Central Metals, Inc., an affiliate of the Debtor, which

transmission repair business.
deeds of trust with assignment of rents provisions.

is the principal tenant at the remaining parcels of property owned by the Debtor. One parcel is leased to a

The rents constitute cash collateral of those secured lenders that are secured by

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Property to the great benefit of the Debtor’s entire bankruptcy estate. The above-defined Junior
Lienholders consent to these payments from the Debtor’s cash collateral, meaning the balance of
funds held from the sale of the Santa Fe Property, and from the Debtor’s rental income on its
remaining properties.

6. Based on the sale of the 8201 Santa Fe Avenue property, at present the Debtor has

the following cash on hand and outstanding claims:

Cash On Hand
Balance of Net Sale Proceeds in Trust Account of Debtor’s Counsel $659,551.19 2
Debtor in Possession Accounts $429,832.00

TOTAL — $1,089,383.19

Disbursements as Soon as Practicable After Entry of Order
Approving Motion to Dismiss but before Dismissal Date

Less Estimated Debtor’s Counsel Allowed Administrative Claim $225,000.00
Less Estimated United States Trustee Fees (assuming disbursement of $258,373.07
Cash on Hand)

SUB TOTAL $483,373.07
TOTAL REMAINING BALANCE $606,010.12

7. The funds are to be distributed as set forth below with any amounts from
additional rents or savings in previous categories to be distributed in the following order until

each claimant is paid in full:3

The remaining assets of the estate Running
would be distributed as follows Amount Amount to Remaining Cash

| C'Waterfall"): Owed be Paid Claim Balance:
Packo Investments $155,000.00 | $155,000.00 | $0 $451,010.12
Soo Yeong Kim, Yeon Shim Song $50,000.00 $50,000.00 $0 $401,010.12
Southern Counties Oil, Inc. $14,213.24 $14,213.24 $0 $386,796.88
BFS West, Inc. (Secured by UCC-1
Only) $313,463.02 | $- $313,463.02 | $386,796.88

2 This amount will increase by the amount of additional rent received prior to entry of an order
approving the Joint Motion. The Joint Motion requires that the Debtor receive all rents due from the

Debtor’s affiliate, Central Metal, Inc., coming due through the month in which the Court enters an order
approving the Joint Motion, and that such rents be included in the Debtor in Possession Accounts and be
disbursed according to the above Waterfall.

3 In the event the payment to any party int the Waterfall is NOT cashed and does NOT clear
within sixty (60) days of service by the Debtor, then the Debtor is authorized and directed to disburse
such amount according to the Waterfall; namely, to the next priority secured creditor subject to
provisions described in the Motion. In such event, the Debtor shall be authorized and directed to place a
stop payment on such check for payment upon the lapse of the sixty (60) day period.

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The remaining assets of the estate
would be distributed as follows

| C'Waterfall"):

Amount
Owed

Amount to
be Paid

Remaining
Claim

Running
Cash
Balance:

Kap Chang Chong*

$120,175.13

$120,175.13

$0

$266,621.75

Allen Park

$172,666.67

$172,666.67

$0

$93,955.08

Complete Bus. Solutions (See Sect.
I.C.)

$346,534.96

$93,955.08

$252,579.88

$0

BAE Family Trust

$1,921,116.67

$0

$1,921,116.67

$0

Mohammad Sanfaz (secured by
Santa Fe Only)

$597,115.74

$0

$597,115.74

$0

Totals

$606,010.12

$3,084,275.31 | $0

8. First, the Debtor has no foreseeable ability to pay the income and/or capital gain

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tax that will be due and payable on April 15, 2022 arising from the closing of the sale of the Santa

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Fe Property. The income tax is estimated to be in excess of $8 million dollars. That tax liability

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is an administrative priority liability. The Debtor has no foreseeable ability to propose a chapter

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11 plan that complies with Section 1129(a)(9)(A), namely, the payment of administrative priority

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claims in cash on the effective date of the plan. Continuing the Chapter 11 process would only

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BS

lead to further delay in paying the Debtor’s creditors as well as added expense for the Debtor and

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the Estate. Significantly, the creditors secured by the 8201 Santa Fe Avenue Property (and by the

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remaining parcels) have the right to increase the amount of their claims by at least 10% per annum

—
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(for judgments), by default interest rates on consensual liens,plus other fees and expenses

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(including, possibly, attorneys’ fees and costs). So, disbursing the remaining cash to such

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claimants as soon as possible will save the Debtor and his estate many thousands of dollars.

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Dismissal can accomplish this quickly while leaving creditors still able to negotiate with the

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Debtor or resort to collecting from his remaining assets (such as by recording judgments against

NO
No

him).

NO
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9. Alternatively, if the Case were to be converted to Chapter 7, there will be

N

substantial additional interest and fees on secured claims due to the passage of time, plus

N
Nn

substantial additional Chapter 7 administrative expenses for a Chapter 7 trustee and the fees and

NO
ON

expenses incurred by his or her professionals. However, because the estate owes substantial

No
—]

N
Coo

4 Any distribution does not waive any claim, defense or otherwise that the Debtor or its affiliates
may have against this party.

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amounts of capital gains taxes and would owe additional capital gains taxes if the remaining three
real estate assets are sold because they were acquired at the same time as the already-sold 8201
Santa Fe Avenue Property and were last valued at $15,200,000 (without taking into account their
actual environmental contamination) while the estate would owe total capital gains taxes of over
$15,000,000, a Chapter 7 Trustee would be administering the assets only for the benefit of
secured creditors or taxing authorities. More likely, a chapter 7 trustee would instead abandon
the properties leaving only the amounts on hand with the Debtor to be administered, which will
be owed totally to secured creditors, who by then will be owed greater amounts due to accruing
interest, fees and expenses.

10. ‘By contrast, again, should the Motion be granted, the Debtor will continue to
negotiate with his creditors post-dismissal to pay them out of the $78,990 monthly rents and may
eventually be able to pay off his creditors in full through a refinancing of the properties if
prospective lenders are given sufficient time to consider the environmental issues to feel
comfortable to fund a loan. Most importantly, provided the Motion is granted, there will be no
discharge of the Debtor whatsoever. All claimants, including local, state and federal taxing
authorities, will be able to exercise any and all legal rights, unimpaired and unconstrained by the
Bankruptcy Code. It is the Debtor’s intent and hope that he will be able to negotiate long term
payment plans with each of the tax authorities.

11. For the abundance of clarity, except as established by entered orders of the Court
and as otherwise stated in this Motion, all claims against the Debtor retain any and all rights
against the Debtor as such claims and rights existed as of the Petition Date.

C. SPECIFIC DISBURSEMENT PROVISIONS APPLICABLE TO JUDGEMENT

LIEN HOLDER COMPLETE BUSINESS SOLUTIONS, INC.

12. Complete Business Solutions, Inc. (“CBSI’) is the holder of a judgment lien
against the Debtor. The judgment lien is a “Judgment Based on Sister-State Judgment”, entered
in the Superior Court of California, County of Los Angeles, on November 9, 2017. CBSI
recorded its abstract of judgment on January 12, 2018. CBSI has not filed a proof of claim. Nor

has CBSI participated in the Debtor’s chapter 11 case by making an appearance. Nor did it do

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1 | so in the Debtor’s prior case. The Debtor consistently has served CBSI at the address it listed
2 | for the corporation on its recorded abstract of judgment and the corporate address listed on the
3 | California Secretary of State website. No items served on CBSI have been returned as
4 | undeliverable except for two pieces of mail. (See Declaration of Andrea Castro, attached hereto
5 | and incorporated herein.)
6 13. The Debtor has doubts that the payment set out in the Waterfall to CBSI in the
7 | amount of $93,955.08 will be cashed (the “CBSI Amount” or the “CBSI Payment” or the “CBSI
8 | Funds”).
9 14. Consequently, the Movants request the following specific provisions be
10 | applicable to CBSI:
11 a. Concurrent with making the other requested disbursements, the Debtor will cause
12 the transfer of the CBSI Payment to CBSI, via an overnight delivery service, to its
13 last known agent for service of process.
14 b. In the event the CBSI Payment check is NOT cashed and does NOT clear within
15 sixty (60) days of service by the Debtor, then the Debtor is authorized and directed
16 to disburse the CBSI Funds according to the Waterfall, namely, to the next priority
17 secured creditor subject to provisions described in the Motion. In such event, the
18 Debtor shall be authorized and directed to place a stop payment on the CBSI
19 Payment upon the lapse of the sixty (60) day period.
20 Ill.
21 LEGAL ARGUMENT
22 | A. THE COURT SHOULD DISMISS THE DEBTOR’S CHAPTER 11
23 BANKRUPTCY CASE.
24 Governing Ninth Circuit authority states that “unless dismissal will cause some plain
25 | legal prejudice to creditors, it normally will be proper.” Jn re Hall, 15 B.R. 913, 917 (Bankr.
26
5 The Waterfall payment to CBSI is complicated by the fact that CBSI has no rights to rents; its abstract
27 | of judgment entitles it only to proceeds of the property itself. ‘The Motion treats the Santa Fe sale proceeds balance
and the rents as combined funds, as shown on the waterfall exhibit and in the Motion. From the combined funds,
28 | certain administrative priority expenses are being paid, and the balance distributed according to the priority but
without regard to whether the creditor does or does not have an interest in the rents.
9

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App. 9th Cir. 1981) (In the case of In re Matter of International Inn Partnership, supra, the 9th
Circuit Court of Appeals created a test for voluntary dismissals by holding that “unless dismissal
will cause some plain legal prejudice to the creditors, it normally will be proper.” This Panel can
find no authority or changes in the Code which would command a change in the law under the
Act.). Accordingly, in In re Hall, the Court ruled that there was plain legal prejudice to creditors
because dismissing the case would allow the debtor to re-file after filing a homestead, which
would result in there being no unexempt assets to make a distribution to unsecured creditors. Jn
re Hall, 15 B.R. at 917 (“In the present case the objections to exemptions filed by the trustee, if
sustained, would provide a payment to unsecured creditors. If the debtor were to dismiss, file a
homestead and then file a new bankruptcy there would be no distribution to unsecured
creditors.”). Such possibility does not exist here because Mr. Byun has claimed no homestead
exemption on his remaining real properties, which are all commercial and, therefore, his creditors
can collect from his assets once again outside of bankruptcy.
Bankruptcy Code Section 305 provides, in relevant part:

(a) The court, after notice and a hearing, may dismiss a case under
this title, or may suspend all proceedings in a case under this title,
at any time if —

(1) the interests of creditors and the debtor would be
better served by such dismissal or suspension; ...

11 U.S.C. § 305 (italics and bold added).

Section 1112 provides, in relevant part, as follows:

(b)(1) Except as provided in paragraph (2) and subsection (c), on
request of a party in interest, and after notice and a hearing, the
court shall convert a case under this chapter to a case under chapter
7 or dismiss a case under this chapter, whichever is in the best
interests of creditors and the estate, for cause unless the court
determines that the appointment under section 1104(a) of a trustee
or an examiner is in the best interests of creditors and the estate.

11 U.S.C. § 1112(b) (italics and bold added). Section 1112(b)(4) contains 16 examples of what

constitutes “cause.” Notably, the 16 examples of “cause” for dismissal set forth in the

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Bankruptcy Code generally relate to bad acts by a debtor. This is not surprising because
dismissal is usually seen as the ultimate penalty when a debtor fails to proceed as required by the
Bankruptcy Code and Bankruptcy Rules. See In re Kimble, 96 B.R. 305, 307 (Bankr. D. Mont.
1988). The foregoing examples of “cause” for dismissal are not exclusive and ““‘[a] court may
consider other factors as they arise and may ‘use its equitable powers to reach an appropriate
result in individual cases.’” In re Mechanical Maintenance, Inc., 128 B.R. 382, 386 (E.D. Pa.
1991) (quoting S.Rep No. 989, 95th Cong., 2d Sess. 117, reprinted in 1978 U.S. Code Cong. &
Admin. News 5787, 5903); see also 11 U.S.C. § 102(3).

Once it is determined that “cause” exists, the Court must determine whether to convert
or dismiss the case based on what is in the best interests of creditors and the estate. In re Staff
Investment Co., 146 B.R. 256, 260 (Bankr. E.D. Cal. 1993); In re Evans, 2002 WL 33939733, 1
(Bankr. D. Idaho 2002). This determination is committed to the Court's wide discretion. Pioneer
Liquidating Corp. v. United States Trustee (In re Consolidated Pioneer Mortgage Entities) , 248
B.R. 368, 375 (9th Cir. BAP 2000); Kimble, 96 B.R. at 307. While a debtor’s interests are not
specifically included in the best interests equation, they must be considered to the extent
the debtor’s interests coincide with interests of the estate. Staff, 146 B.R. at 261. In fact,
again, a “[djebtor’s request [to dismiss its Chapter 11 bankruptcy case] should ordinarily be
granted unless some ‘plain legal prejudice’ will result to the creditors.’” Kimble, 96 B.R. at
907 (quoting Inre Geller, 74 B.R. 685, 688-89 (Bankr. E.D. Pa. 1987) (citing Inre Hall, 15 B.R.
913, 915-16 (9th Cir. BAP 1981); see In re International Airport Inn Partnership, 517 F.2d at
512 (9th Cir. 1975)).

Here, there is cause for dismissal of the Debtor’s case because all of the reasons for having
filed Chapter 11 in the first place have been accomplished (i.e., substantial payment of the largest
secured creditors through the organized sale of the Debtor’s single largest real estate asset). The
Debtor will attempt to negotiate with creditors as to the remaining debt outside a bankruptcy
case, especially since secured and unsecured creditors have rents and the remaining three small
real estate assets to which to look for payment. In addition, the taxing authorities are not

prejudiced by dismissal, and local, state and federal tax authorities are able to pursue all remedies,

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without restraint by the automatic stay. By contrast, because the bankruptcy estate owes over $8
million in capital gains taxes from the sale of the Santa Fe Property alone, and selling the
remaining real estate assets will also lead to additional millions io dollars in capital gains taxes,
no Chapter 7 Trustee is likely to administer them. A conversion of the case would simply lead
to more delay and, quantifiably, more interest (at 10% for judgment creditors or contract rates
for consensual lien holders) , plus attorneys’ fees and costs. These would be in addition to the
costs and delay of Chapter 7 administration Thus, dismissal, rather than conversion, is in the
best interests of creditors and the Estate.

To the extent that the Court might be concerned that the proposed dismissal constitutes a
structured settlement under Czyzewski v. Jevic Holding Corp., _U.S.___, 137 S.Ct. 973 (2017),
197 L. Ed. 2d 398, Movants respectfully submit that the treatment of creditors fully complies
with the “basic system of priority” established by the Bankruptcy Code. Jd. at 979. The
distribution waterfall set out in this motion follows the order of priority of the secured creditors.
Notably, the funds are exhausted before reaching any payment to secured creditor Sanfaz, and
result in a payment of less than $100,000 to secured creditor, BAE Trust. The BAE Trust will
still have a remaining secured claim of over $1,800,000. There is no “skipping” of any creditors.
Further, with respect to the remaining proofs of claim filed by parties, they are junior in priority
to any other party who already received payment and, importantly, the Debtor fully intends to
continue working with them to reach a consensual resolution of their claims. See Cty. of Ventura
Tax Collector v. Robert Brawders, Cheryl Brawders (In re Brawders), 325 B.R. 405, 416 (B.A.P.
9th Cir. 2005), aff'd, 503 F.3d 856 (9th Cir. 2007) (opining, in the context of a Chapter 13 case,
that “Unsecured claims invariably are affected by bankruptcy. In contrast, as we have noted, in
rem rights generally pass through bankruptcy unaffected. Therefore, unlike unsecured creditors,
secured creditors may ignore the bankruptcy proceedings and look to the lien for satisfaction of
the debt.”).

Based on the foregoing, and because all creditors whose claims are not otherwise satisfied
or paid off will retain their claims and liens and/or lien rights against the Debtor either already

secured by his assets or capable of being made secured by his assets through judgments if the

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Bankruptcy Court orders entered during the pendency of the case will survive dismissal.
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CONCLUSION

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WHEREFORE, the Movants respectfully request that the Court enter an order:

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(1) granting the Motion in its entirety;

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Motion’s Waterfall.

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(3) affirming the post-dismissal effectiveness of all Bankruptcy Court orders;

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Debtor and the respective creditors do not reach a resolution, the Movants submit that no further
purpose or benefit would be served by remaining in Chapter 11 or certainly not by converting
the Chapter 11 case to Chapter 7. Remaining in bankruptcy would lead to further delay in paying
the Debtor’s creditors as well as significant added expense for the Estate and the Debtor. If the
Debtor’s case is not dismissed and, instead, converted to Chapter 7, there will likely be additional

Chapter 7 administrative expenses for a Chapter 7 trustee and the fees and expenses incurred by

In consideration of the foregoing, the Movants respectfully submit that there is cause for
dismissal, and that dismissal is in the best interests of creditors and the Estate (of which the
debtor is a part) as well as the debtor. Further, although cases have held that orders entered in a
bankruptcy case before its dismissal may survive dismissal even without clarification by the
Court as to the continuing effectiveness of such orders, see In re Pavelich, 229 B.R. 777 (9th Cir.
BAP 1999); Gardenhire v. IRS (In re Gardenhire), 209 F.3d 1145 (9th Cir. 2000), the Movants

believe that it is preferable to obtain certainty by having the Court specifically order that all

(2) approving the provisions for disbursements and subsequent dismissal of the case
as set forth in the Motion, including dismissing the Debtor’s Chapter 11 bankruptcy case
conditioned upon (a) the payment in full of all outstanding quarterly fees owed to the United
States Trustee in advance of the dismissal date, (b) the payment of reasonable and documented
professional fees incurred by counsel to the Debtor upon request by any objecting party, and (c),

authorization for payment and directing such payment in fact of the amounts set forth in the

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] (4) providing that disbursements are to be made by the Debtor within 14 days after
2 | entry of the Court’s order approving this Motion and, if there is no appeal of such order, this case
3 | is dismissed and the clerk of the Court should enter dismissal of the case after the Debtor files a
4 | declaration that all disbursements have been made: and,
5 (5) granting such other and further relief as the Court deems just and proper.
6
7
Dated: March 29, 2022 THE ORANTES LAW FIRM, P.C.
8
9 By:  /s/ Giovanni Orantes
1a GIOVANNI ORANTES
i Attorney for Debtor, Jong Uk Byun
12
13 | Dated: March 29, 2022 LAW OFFICES OF DAVID W. MEADOWS
14
15

16 By: I Dye dw. Meh

DAVID W. MEADOWS

Attorney for Creditors, Packo Investments,
18 Inc., Allen Park, The BAE Family Trust, and
19 Mohamed Sanfaz

14

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DECLARATION OF JONG UK BYUN

I, Jong Uk Byun, declare as follows:

i. I am the debtor in above-captioned Chapter 11 case. | make this declaration in
support of the “Joint Motion By Junior Lienholders And Debtor To Dismiss Chapter 1] Case”
(the “Motion”). Each of the following facts is of my own knowledge, and if called upon and
sworn as a witness. I could and would competently testify thereto. All capitalized but
undefined terms herein shall have the same meanings ascribed to them in the Motion.

2. I believe that dismissal of the bankruptcy case would be in the best interest of
creditors. I further believe that continuing the Chapter 11 process would only lead to further
delay in paying creditors as well as added expense for the Estate. Alternatively, if the Case
were to be converted to Chapter 7, there will be substantial additional Chapter 7 administrative
expenses for a Chapter 7 trustee and the fees and expenses incurred by her professionals,

3 I am informed and believe that this is currently the amount of cash on hand
available for disbursements:

Cash On Hand
Balance of Net Sale Proceeds in Trust Account of Debtor’s Counsel $659,551.19
Debtor in Possession Accounts $429.832.00

TOTAL — $1,089,383.19

4. I am aware that rents collected during the month in which the order approving
dismissal is entered continue to be cash collateral and will have to be distributed according to
the “Waterfall” of priority set forth in the Motion.

i The remaining real estate assets of my bankruptcy estate ostensibly have
a value of about $15,200,000. I base this value on my review on comparable sales in
the vicinity of my properties as well as formal appraisals | obtained from Braun
International which have been submitted to this court on several occasions, including

as authenticated exhibits to the Second Amended Disclosure Statement Describing

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Chapter 11 Plan of Reorganization and Plan of Reorganization, Docket No. 246.
However, my remaining Los Angeles properties have environmental issues, such as
contaminated groundwater, which has previously limited the purchase price offered by
interested parties to a small fraction of the estimated value of the properties. Since the
sale of my largest real estate asset was completed, which paid off the large majority of
my debts, I have explored refinancing of my remaining properties and even sale;
however, obtaining an amount sufficient to pay my remaining assets while paying the
capital gains due from the sale of my largest property plus several millions of dollars
that would be due on the sale of each of the remaining three properties has rendered it
impossible to raise enough money to pay my remaining debts. So, it does not appear
that my remaining Los Angeles properties could even be sold so as to get a net amount
sufficient to pay the remaining creditors after paying capital gains taxes. By contrast,
continuing to lease the properties and draw rent from them can result in payment to the
remaining creditors, even if with monthly payments over a number of years. Needless
to say. given enough time to market the remaining Los Angeles properties (which I do
not have) so as to get an economically justifiable amount for them, I would be open to
sell them and not being in an open bankruptcy case may entice more parties to deal with
me. I make this statement because many of the parties | have approached to refinance
or to sell the property to have declined to negotiate with me because the bankruptcy
case is still open.

6. A party in interest may obtain a copy of the appraisals from the docket of
this case or by requesting it from my Bankruptcy counsel, The Orantes Law Firm, P.C.,
by calling the number or emailing the address in the caption of the Motion. Likewise,
a party in interest may obtain a copy of the environmental reports previously conducted

of the remaining Los Angeles property by requesting a copy my Bankruptcy counsel.

to

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| declare under penalty of perjury, under the laws of the United States of America that

the foregoing is true and correct and that this Declaration was executed on March 29, 2022,

California.

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DECLARATION OF HYUNG JIN PARK

I, Hyung Jin Park, hereby declare and state as follows:

1. I am over the age of 18 years. Except when based on information and belief, the
facts stated herein are within my personal knowledge and if I am called upon to testify, I could and
would do so competently thereto.

2s I am the President of Apark Accountancy Inc. I am a Certified Public Accountant. |
received my license #93487 from the American Institute of Certified Public Accountants. I have a
master’s degree business taxation. Attached hereto as Exhibit “1” is a true and correct copy my
resume.

3. I have calculated the estimated capital gain taxes if a sale of the 8201 Santa Fe Ave.

| Huntington Park, CA 90255 property (the “Santa Fe Property”). If Mr. Byun were to sell the Santa

Fe Property, he would be liable to pay the approximate following ranges of capital gain taxes for a
sale of $26 Million or for a sale for $30 Million. The chart below illustrates the total tax that would

be owed:

Estimated capital gain tax

Sales $26,000,000 $30,000,000
Cost $5,350,000 $5,350,000
Gain $20,650,000 $24,650,000
IRS Tax $4,880,000 $5,832,000
CA Tax $2,721,000 $3,253,000
Total Tax $7,601,000 $9,085,000

I declare under penalty of perjury under the laws of the United States of America that the

|| foregoing is true and correct.

Executed on October , 2020 at Los Angeles County, California.

Wf PL

Hyung Jin Park, Declarant

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Exhibit “1”
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ALLEN HYUNG PARK, CPA
3700 Wilshire Blvd. Suite 440, Los Angeles, CA 90010
Phone: (213) 805-6590 E-mail: apark@aparkcpa.com

PROFESSIONAL EXPERIENCE

Apark Accountancy Inc, Los Angeles, CA

CEO May 2014 — Present
» Provide accounting, bookkeeping and tax service

Fishman, Block & Diamond LLP, Encino, CA
Tax Manager December 2012 — May 12, 2014

® Prepare and review compliance and consulting projects for various entities including consolidated
corporations, S corporations and partnerships returns for manufacturing, real estate, investment
management, service and retail industry.

e Prepare and review US individual income tax returns for high net worth individuals including trusts,
gifts and non-profits returns.

e Research tax issues for clients, including corporate reorganizations and structuring, consolidation
reporting and experimental credits.

e Research and provide technical guidance related to federal, multi-state, and local tax issues arising
from the filing of returns.

Cohnreznick LLP, Los Angeles, CA
Tax Manager June 2007 — November 2012

e Develop tax strategies and tax planning for current and future years.

e Compile various compliance foreign filings such as forms 5471, 5472, 8858, 8938 and FBAR.

e Compile and review schedules for R&D Credit study, 263A, Enterprise Zone Credit and Section 199
Deduction.

e Manage engagement through supervising staff, preparing engagement letters, team scheduling, billing
and interacting with external clients on a regular basis to cultivate and maintain strong client
relationships.

e Served as an audit representative before government agencies such as Internal Revenue Service, Board
of Equalization and Employment Development Department.

Choon Taik Lim CPA, Inc., Los Angeles, CA
Sr, Accountant May 2002 — August 2006

e Prepared financial statements under cash and accrual accounting methods for sole proprietorships,
corporations, S corporations, partnerships, and nonprofit organizations to summarize clients’ current
and projected financial position

e Prepared federal and state tax returns for individuals, corporations, S corporations, partnerships and
non-profits

e Prepared and reviewed responses to various notices from Federal and State taxing authorities

e Processed automated payroll and filed quarterly tax reports

e Prepared Offers in Compromise to reduce tax liabilities of clients

e Assisted clients set up of QuickBooks and trained them on use of the software

EDUCATION

University of Southern California, Los Angeles, CA

Leventhal School of Accounting

Master of Business Taxation, May 2007

Bachelor of Science, Business Administration, Information System, December 2001

PROFESSIONAL CERTIFICATION

AICPA, Certified Public Accountant (#93487) November 2005
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DECLARATION OF GARY KUWADA

I, Gary Kuwada, declare and say as follows:

1. I am an individual over the age of eighteen years and an attorney of law duly
qualified to practice law in the State of California, and been retained as a tax consultant to Mr.
Jong Uk Byun (the “Debtor’”), the debtor and debtor in possession herein, and make this
declaration in support of presenting to the Court an analysis of certain United States and California
State income tax issues and consequences relating to the transfer of the property commonly known
as 8201 Santa Fe Avenue, Huntington Park, CA 90255 (the “Property”) from the Debtor, to his
100 percent owned corporation, Central Metal, Inc., a California C corporation (the
“Corporation) for the Motion for Order Approving the Sale of the Property Commonly Known as
8201 Santa Fe Avenue, Huntington Park, CA 90255 (the “Motion”).

2. Each of the facts contained in this declaration are based on my personal knowledge
and if called as a witness I could and would competently testify thereto. | am a Tax Attorney and
Certified Public Accountant with my practice based in Los Angeles, California at the Law Office
of Gary H. Kuwada. Before entering private practice, | worked for the IRS for 9 years as a
Revenue Agent and Appeals Officer. While working for the IRS, I attended the evening program
at Loyola Law School, completed the CPA examination and received my audit certification hours
from the IRS. As a Revenue Agent, I worked in the IRS general program, large case and
international, civil fraud, tax haven and currency and banking groups. | received training in
individual, partnership, corporate and international tax law and also worked as an instructor for the
IRS. As an Appeals Officer, | settled cases for the IRS before trial based on the hazards of
litigaton.

3. During the past 30 plus years in private practice, my practice has been limited to
civil and criminal Federal and State tax controvery matters.

4. Based upon a review of the documents provided by the Debtor and the Court files,
if the Debtor were to sell the Property directly to the Buyer, without taking into consideration

brokers fees, and the cost to close the transaction, the Debtor’s Federal and State tax liabilities

DECLARATION OF GARY KUWADA IN SUPPORT OF MOTION FOR ORDER APPROVING SALE OF
THE REAL PROPERTY COMMONLY KNOWN AS 8201 SANTA FE AVENUE, HUNTINGTON PARK,
CA 90255

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including estimated tax penalties would be approximately $8,470,338. See draft of Federal and
State Income individual tax returns for the Debtor attached hereto and incorporated herein by this
reference as Exhibit “A”.

I declare under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.

Executed this 2" day of December 2021, at Los Angeles, California.

Geo 5

Gary Kuwada

DECLARATION OF GARY KUWADA IN SUPPORT OF MOTION FOR ORDER APPROVING SALE OF
THE REAL PROPERTY COMMONLY KNOWN AS 8201 SANTA FE AVENUE, HUNTINGTON PARK,
CA 90255

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This Exhibit has been

omitted. A copy of the
Exhibit is available
upon request.

EXHIBIT “A”
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| DECLARATION OF ANDREA M. CASTRO
2 I], Andrea M. Castro, hereby declare and state as follows:
3 L. Iam over 18 years of age. | am employed by an attorney admitted to the bar of

4 || the State of California and to the bar of this Court who ts counsel to the debtor in the above-
5 || captioned bankruptey case. Except when based on information and belief, | make this

6 || declaration based on facts within my personal knowledge and if called as a witness, could and

7 || would testify thereto.

8 a I make this declaration in support of that Notice Of Joint Motion And Joint

9 || Motion By Junior Lienholders And Debtor To Dismiss Chapter | 1 Case; Memorandum Of
10 || Points And Authorities; Supporting Declarations (the “Motion”).
1] ae Iam one of the custodians of the books, records and files of the Firm that pertain
12 || to its client’s cases. I have personally worked on the books, records and files, and as to the

13 || following facts, I know them to be true of my own knowledge or I have gained knowledge of
14 || them from the business records of debtors on behalf of debtors. These books, records and files
were made at or about the time of the events recorded, and which are maintained in the ordinary
16 || course of the Firm’s business at or near the time of the actions, conditions or events to which

17 || they relate. Any such document was prepared in the ordinary course of business of The Firm by
18 || a person who had personal knowledge of the event being recorded and had or has a business

19 |} duty to record accurately such event. The business records are available for inspection and
20 || copies can be submitted to the court if required.
21 4, As part of my everyday duties for The Orantes Law Firm, P.C. (the “Firm’), |
22 || retrieve the mail for the firm, sort it and scan it. This includes any mail that the Firm sent out
23 || that was returned to the Firm because it was undeliverable in some form, for which I scan both
24 || sides of the envelope plus at least the first page of each document it contains.
25 2. Since the filing of the Debtor's case on August 21, 2020, only two pieces of mail
26 || sent to Complete Business Solutions, Inc. have been returned to the Firm, one on October 13,
27 || 2020 for the employment application of the Firm (Docket No. 36) and Statement of

28 || Disinterestedness (Docket No. 35) and one today containing a copy of the Order Granting the

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1 || Debtor’s Motion for Order Releasing Funds Held Back During Closing of Sale of the Real
2 || Property Commonly Known As 8201 Santa Fe Avenue, Huntington Park, Ca 90255 Free and
3 || Clear of Liens, Claims, Interests, and Encumbrances of Any Nature Whatsoever Pursuant to 11

4 || U.S.C. § 363. See Exhibits “1” and “2,” respectively, for true and correct copies of at least the

5 || first page of the documents in the referenced envelopes as well as both sides of the envelope.
6 EXECUTED this 29" day of March, 2022, at Los Angeles County, California.
7 I declare under penalty of perjury under the laws of the State of California that the

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8 || foregoing is true and correct. Lj
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1 DECLARATION OF GIOVANNI ORANTES
2 I, Giovanni Orantes, declare as follows:
3 1. Iam a lawyer at the Orantes Law Firm, general insolvency counsel for the Debtor and

4 || Debtor-in-Possession, Jong Uk Byun (the “Debtor”). I know the facts in this declaration of my
personal knowledge and could and would testify competently to the facts in this declaration if

called as a witness. I am certified as Certified Bankruptcy Specialist, State Bar of California,

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Board of Legal Specialization. I am also Board Certified - Consumer and Business Bankruptcy
g || Law - American Board of Certification. I have successfully prosecuted hundreds of Chapter 7 and
9 || 13 cases and have confirmed reorganization plans in or, in a small number of them, otherwise
10 || successfully resolved approximately 50 Chapter 11 cases.
11 2. I am one of the custodians of the books, records and files of The Orantes Law
12 || Firm, P.C. (the “Firm” or “OLF’”’) that pertain to its clients’ cases. I have personally worked on
13 || the books, records and files, and as to the following facts, I know them to be true of my own
14 || knowledge or I have gained knowledge of them from the business records of debtors on behalf
15 || of debtors. These books, records and files were made at or about the time of the events
16 || recorded, and which are maintained in the ordinary course of the Firm’s business at or near the
17 || time of the actions, conditions or events to which they relate. Any such document was prepared
18 ||in the ordinary course of business of the Firm by a person who had personal knowledge of the
19 || event being recorded and had or has a business duty to record accurately such event. The
20 || business records are available for inspection and copies can be submitted to the court if
31 || required.
2 3. I caused to be filed on behalf of the Debtor, a voluntary petition under Chapter 11
23 || of the Bankruptcy Code on August 14, 2020 (the “Petition Date”).
94 4, Hyundai Steel Company’s (“Hyundai”), as the senior lien holder first in title of the
25 || Debtor’s real property commonly known as (1) 8201 Santa Fe Avenue, Huntington Park, CA (2)
26 || 1736 E. 24th Street, Los Angeles, CA, (3) 2203 South Alameda Street, Los Angeles, CA, and (4)
27 || 2445 South Alameda Street, Los Angeles, CA (collectively, the “Los Angeles Properties”) had a

28 || first priority interest of all rents generated by the Los Angeles Properties.

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5. On October 29, 2020, the Court granted Hyundai’s Motion for Relief from Stay, by
the Order Granting Motion for Relief from the Automatic Stay Under 11 U.S.C. § 362 (Real
Property) (Docket No. 115) (the “Stay Relief Order”). Hyundai scheduled a foreclosure auction
all of the Debtor’s Los Angeles properties for 11:00 a.m. on October 21, 2021, behind the fountain
located in Civic Center Plaza, 400 Civic Center Plaza, Pomona, California (the “Foreclosure
Auction”).

6. On June 17, 2021, the Debtor, through counsel and Hyundai entered into a
Stipulation Authorizing the use of Cash Collateral for the purpose of obtaining an environmental
assessment of the property known as 8201 Santa Fe Avenue, Huntington Park, CA, (the “8201
Santa Fe Property”) which the Court granted on June 18, 2021 by the Order Granting the
Stipulation to Authorize use of Cash Collateral (Docket No. 291).

7. On October 19, 2021, the Debtor, through counsel and Hyundai entered into an
amended Stipulation Authorizing the use of Cash Collateral (Docket No. 358) (the “Amended
Cash Collateral Stipulation”), and in exchange for the continuance of the Foreclosure Auction to
December 20201, the Debtor would pay to Hyundai all accumulated and future rent cash collateral
from the Los Angeles properties up to December 2021. On October 20, 2021, the Court entered
that Order Granting the Amended Cash Collateral Stipulation (Docket No. 366).

8. On December 22, 2021, the Court issued the Order Granting Motion for Sale of
8201 Santa Fe Avenue, Huntington Park, CA (the “Property”) (Docket No. 446) (the “Sale
Order”).

9. On December 31, 2021, pursuant to the terms of the Sale Order and upon signature
of the Debtor, the Sum Certain of $26,075,000 was paid to Hyundai, $1,307,793.57 was paid to
Toni Ko and $1,741,263.22 to Packo all out of escrow via wire transfer.

10. On January 13, 2022, Packo received a second transfer from escrow in the amount
of $38,665.00. With Hyundai’s claim fully satisfied, the Junior Lienholders now have claim to the
remaining proceeds of the Sale Order and holders of deeds of trust with assignments of rents have
a claim on the rents generated from the remaining Los Angeles Properties as they are next in line

on title.

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11. | However, the sale of the Santa Fe Property incurred United States Trustee quarterly
fees of $249,658.00 (the “Quarterly Fee”), which requires the Debtor to obtain permission or
authorization to use cash collateral, whether from remaining proceeds from the sale of the Santa Fe
Property or rents from the remaining parcels that are subject to rents provisions included in deeds
of trust held by consensual lien holders, in order to pay the Quarterly Fee. (The Debtor’s non-
rental income is de minimus.)

12. On January 20, 2022, I caused to be filed on behalf of the Debtor that Motion For
Order Releasing Funds Held Back During Closing Of Sale Of The Real Property Commonly
Known As 8201 Santa Fe Avenue, Huntington Park, Ca 90255 Free And Clear Of Liens, Claims,
Interests, And Encumbrances Of Any Nature Whatsoever Pursuant To 11 U.S.C. § 363 (Docket
No. 472) (the “Release of Funds Motion”) to use the holdback funds (the “Holdbacks”)
remaining from the sale of the Santa Fe Property to pay the amount authorized to be paid to Packo
pursuant the Sale Order. The amount stated in the Sale Order did not provide for the full and
complete payment of Packo. Specifically, it omitted pre-petition legal fees (that had been
approved as part of the Packo proof of claim) and it omitted post-petition legal fees. These fees
included not only substantial efforts by Packo in connection with the sale, both initial opposition to
the sale and then in connection with efforts for it to close, but also substantial efforts following the
closing of the sale. For example, counsel to Packo provided the legal research and the drafting of
the tax provisions included in the Release of Funds Motion. Packo’s counsel also has worked with
the Debtor toward the development of this motion, including in its drafting. Consequently, the
“waterfall” presented below states an additional amount to be paid to Packo, which will be deemed
full satisfaction of the Packo claim

13. On January 27, 2022, Kelly L. Morrison, Esq. of the Office of the United States
Trustee contacted the OLF to advise of the Quarterly Fee owed of $249,658.00.

14. On March 1, 2022, the Court granted the Release of Funds Motion.

15. On March 8, 2022, the Court entered the order of the Release of Funds Motion.

16. On March 9, 2022, as a result of the entered order on the Release of Funds Motion,
Packo received a payment in the amount of $1,464,729.34. Packo has a remaining secured claim

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estimated to be in the amount of approximately $150,000. The balance of the Holdbacks was
deposited, as ordered by the Court, in a trust account of the OLF.

17. The remaining real estate assets of the estate ostensibly have a value of
$15,200,000. However, as the Debtor attests in his attached Declaration of Jong Uk Byun, they
have contaminated groundwater, which has previously limited to a small fraction of that amount
the purchase price at which the properties could even be sold so as to get a net amount sufficient to
pay the remaining creditors after capital gains taxes. By contrast, continuing to lease the
properties and draw rent from them can result in payment to the remaining creditors, even if with

monthly payments over a number of years.

THE JOINT MOTION FOR DISMISSAL OF THE CHAPTER 11 CASE.

18. The non-administrative claims bar date expired on December 22, 2020.
19. _— At this time, the following proofs of claim have been settled, amended to $0, paid

off, filed after the Bar Date or withdrawn:

Proof
of Amount
Creditor Claim Status Paid

Los Angeles County 1 On March 15, 2022, the Los Angeles $1,373,521.04
Treasurer and Tax County Treasurer and Tax Collector
Collector amended its proof of claim to update the

claim amount after the sale of the 8201

Santa Fe Property from $1,373,521.04 to

$453,592.48. Further, the attachments to

the County’s amended Proof of Claim state,

“Tax defaulted in 2014 for unpaid taxes and

now deemed ‘subject to power to sell’.

(Claim 1)
Los Angeles County 2 The Los Angeles County Treasurer and Tax N/A
Treasurer and Tax Collector withdrew this proof of claim.
Collector
Internal Revenue 7 The Claim was amended by the Internal N/A
Service Revenue Service on November 30, 2020, to

$0.
Quantum3 Group 8 Claim was paid off by a third party on $35.02
LLC as agent for behalf of the Debtor.
GPCC I LLC
Toni Ko (2"4 12 The claim was paid off through escrow from $1,741,263.22
position secured the sale of the 8201 Santa Fe Property.
creditor)
Packo Investments 13 The claim was substantially paid but not $3,244,657.56

fully paid through escrow from the sale of

the 8201 Santa Fe Property. Adjacent

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Proof
of Amount
Creditor Claim Status Paid
column shows the amount paid to Packo as
of the date of this Motion.
M&A Equities, LLC 14 The claim was disallowed by entry of an N/A
Order Granting the Motion to Disallow the
Claim (Docket No. 208) on February 11,
2021.
Hyundai Steel 19 The claim was paid off through escrow from $26,075,000.00
Company the sale of the 8201 Santa Fe Property.
Marco Rivera 21 This claim was filed on October 7, 2021; N/A
after the Bar Date for claims on February 1,
2021.
Total
$32,434,476.84
20. Asaresult, only the following proofs of claim are still not dealt with:
Proof of
Claim
Creditor No. Status Claim Amount
Los Angeles County 1 As above, the Los Angeles County $453,592.48
Treasurer and Tax Treasurer and Tax Collector amended
Collector its proof of claim on March 15, 2022 to
update the claim amount after the sale
of the 8201 Santa Fe Property from
$1,373,521.04 to $453,592.48, and
indicate that each of the Debtor’s
remaining parcels of property are
subject to sale
Wells Fargo Bank 3 Secured by personal property only. $15,351.27
N.A., d/b/a Wells
Fargo Auto
Packo 13 Secured; remaining portion $150,000.00
Southern Counties Oil, 4 Secured $14,213.24
Co.
County Of San 5 Unsecured. $56,635.33
Bernardino
State Compensation 13 Unsecured. $184,726.52
Insurance Fund
Resnik Hayes Moradi 9 Unsecured $74,859.50
LLP
Bank of Hope 11 Unsecured $460,140.29
BAE Family Trust 15 Secured $1,517,633.33
Mohamed Sanfaz 16 Secured on Santa Fe proceeds only $465,488.43
Allen Park 17 Secured $144,777.78
Kap Chan Chong 18 Secured $97,773.38
U.S. Small Business 20 This claim was filed after the 12/22/20 _| $96,904.91

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Proof of
Claim
Creditor No. Status Claim Amount
Administration Bar Date for claims on February 1,
2021
Total | $3,582,096.46
21. A true and correct copy of the claims register in the Debtor’s case is

attached hereto as Exhibit “1”.

22. In sum, out of $35,978,908.30 in total debts under the proofs of claim, the Debtor
has paid 90.04% and only 9.96% remains owed while claims without proofs of claims are
relatively small.

23. Pursuant to this Motion, the Movants jointly request that the Debtor’s Chapter 11
case be dismissed after distributing the remaining net proceeds of the sale of the 8201 Santa Fe
Avenue Property and paying out of cash collateral’ the administrative claims of the U.S. Trustee
and of counsel for the Debtor, who assiduously pursued the sale of the 8201 Santa Fe Avenue
Property to the great benefit of the Debtor’s entire bankruptcy estate. The above-defined Junior
Lienholders consent to these payments from the Debtor’s cash collateral, meaning the balance of
funds held from the sale of the Santa Fe Property, and from the Debtor’s rental income on its
remaining properties.

24. Based on the sale of the 8201 Santa Fe Avenue property, at present the Debtor has

the following cash on hand and outstanding claims:

Cash On Hand
Balance of Net Sale Proceeds in Trust Account of Debtor’s Counsel $659,551.19 2
Debtor in Possession Accounts $429,832.00

TOTAL — $1,089,383.19

! The cash collateral consists of rents received from Central Metals, Inc., an affiliate of the Debtor,
which is the principal tenant at the remaining parcels of property owned by the Debtor. One parcel is
leased to a transmission repair business. The rents constitute cash collateral of those secured lenders that
are secured by deeds of trust with assignment of rents provisions.

? This amount will increase by the amount of additional rent received prior to entry of an order
approving the Joint Motion. The Joint Motion requires that the Debtor receive all rents due from the
Debtor’s affiliate, Central Metal, Inc., coming due through the month in which the Court enters an order
approving the Joint Motion, and that such rents be included in the Debtor in Possession Accounts and be
disbursed according to the above Waterfall.

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1 Disbursements as Soon as Practicable After Entry of Order
Approving Motion to Dismiss but before Dismissal Date
2 || Less Estimated Debtor’s Counsel Allowed Administrative Claim $225,000.00
3 Less Estimated United States Trustee Fees (assuming disbursement of $258,373.07
Cash on Hand)
4 SUB TOTAL $483,373.07
5 TOTAL REMAINING BALANCE $606,010.12
6
7 25. The funds are to be distributed as set forth below with any amounts from additional
g rents or savings in previous categories to be distributed in the following order until each claimant
9 is paid in full:
The remaining assets of the estate Running
would be distributed as follows Amount Amount to Remaining Cash
"Waterfall"): Owed be Paid Claim Balance:
Packo Investments $155,000.00 | $155,000.00 | $0 $451,010.12
Soo Yeong Kim, Yeon Shim Song $50,000.00 $50,000.00 $0 $401,010.12
Southern Counties Oil, Inc. $14,213.24 $14,213.24 $0 $386,796.88
BFS West, Inc. (Secured by UCC-1
Only) $313,463.02 | $- $313,463.02 | $386,796.88
14 |! Kap Chang Chong* $120,175.13 | $120,175.13 | $0 $266,621.75
15 Allen Park $172,666.67 | $172,666.67 | $0 $93,955.08
Complete Bus. Solutions (See Sect.
16 ILC.) $346,534.96 $93,955.08 $252,579.88 $0
BAE Family Trust $1,921,116.67 | $0 $1,921,116.67 | $0
17 | Mohammad Sanfaz (secured b
y
18 Santa Fe Only) $597,115.74 | $0 $597,115.74 | $0
Totals $606,010.12 | $3,084,275.31 | $0
19
20 26. First, the Debtor has no foreseeable ability to pay the income and/or capital gain tax
1 that will be due and payable on April 15, 2022 arising from the closing of the sale of the Santa Fe
22 Property. The income tax is estimated to be in excess of $8 million dollars. That tax liability is an
23 administrative priority liability. The Debtor has no foreseeable ability to propose a chapter 11
24
25 3 Tn the event the payment to any party int the Waterfall is NOT cashed and does NOT clear within

sixty (60) days of service by the Debtor, then the Debtor is authorized and directed to disburse such amount
26 according to the Waterfall; namely, to the next priority secured creditor subject to provisions described in
the Motion. In such event, the Debtor shall be authorized and directed to place a stop payment on such
check for payment upon the lapse of the sixty (60) day period.

* Any distribution does not waive any claim, defense or otherwise that the Debtor or its affiliates
may have against this party.

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plan that complies with Section 1129(a)(9)(A), namely, the payment of administrative priority
claims in cash on the effective date of the plan. Continuing the Chapter 11 process would only
lead to further delay in paying the Debtor’s creditors as well as added expense for the Debtor and
the Estate. Significantly, the creditors secured by the 8201 Santa Fe Avenue Property (and by the
remaining parcels) have the right to increase the amount of their claims by at least 10% per annum
(for judgments), by default interest rates on consensual liens,plus other fees and expenses
(including, possibly, attorneys’ fees and costs). So, disbursing the remaining cash to such
claimants as soon as possible will save the Debtor and his estate many thousands of dollars.
Dismissal can accomplish this quickly while leaving creditors still able to negotiate with the
Debtor or resort to collecting from his remaining assets (such as by recording judgments against
him).

27. Alternatively, if the Case were to be converted to Chapter 7, there will be
substantial additional interest and fees on secured claims due to the passage of time, plus
substantial additional Chapter 7 administrative expenses for a Chapter 7 trustee and the fees and
expenses incurred by his or her professionals. However, because the estate owes substantial
amounts of capital gains taxes and would owe additional capital gains taxes if the remaining three
real estate assets are sold because they were acquired at the same time as the already-sold 8201
Santa Fe Avenue Property and were last valued at $15,200,000 (without taking into account their
actual environmental contamination) while the estate would owe total capital gains taxes of over
$15,000,000, a Chapter 7 Trustee would be administering the assets only for the benefit of secured
creditors or taxing authorities. More likely, a chapter 7 trustee would instead abandon the
properties leaving only the amounts on hand with the Debtor to be administered, which will be
owed totally to secured creditors, who by then will be owed greater amounts due to accruing
interest, fees and expenses.

28. By contrast, again, should the Motion be granted, the Debtor will continue to
negotiate with his creditors post-dismissal to pay them out of the $78,990 monthly rents and may
eventually be able to pay off his creditors in full through a refinancing of the properties if
prospective lenders are given sufficient time to consider the environmental issues to feel

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comfortable to fund a loan. Most importantly, provided the Motion is granted, there will be no
discharge of the Debtor whatsoever. All claimants, including local, state and federal taxing
authorities, will be able to exercise any and all legal rights, unimpaired and unconstrained by the
Bankruptcy Code. It is the Debtor’s intent and hope that he will be able to negotiate long term
payment plans with each of the tax authorities.

29. For the abundance of clarity, except as established by entered orders of the Court
and as otherwise stated in this Motion, all claims against the Debtor retain any and all rights
against the Debtor as such claims and rights existed as of the Petition Date.

SPECIFIC _DISBURSEMENT PROVISIONS APPLICABLE TO JUDGEMENT LIEN
HOLDER COMPLETE BUSINESS SOLUTIONS, INC.

30. Complete Business Solutions, Inc. (““CBSI’”) is the holder of a judgment lien against
the Debtor. The judgment lien is a “Judgment Based on Sister-State Judgment”, entered in the
Superior Court of California, County of Los Angeles, on November 9, 2017. CBSI recorded its
abstract of judgment on January 12, 2018. CBSI has not filed a proof of claim. Nor has CBSI
participated in the Debtor’s chapter 11 case by making an appearance. Nor did it do so in the
Debtor’s prior case. The Debtor consistently has served CBSI at the address it listed for the
corporation on its recorded abstract of judgment and the corporate address listed on the California
Secretary of State website. No items served on CBSI have been returned as undeliverable except
for two pieces of mail. (See Declaration of Andrea Castro, attached hereto and incorporated
herein.)

31. | The Debtor has doubts that the payment set out in the Waterfall to CBSI in the
amount of $93,955.08 will be cashed (the “CBSI Amount” or the “CBSI Payment” or the “CBSI

Funds”)?.

> The Waterfall payment to CBSI is complicated by the fact that CBSI has no rights to
rents; its abstract of judgment entitles it only to proceeds of the property itself. The Motion treats
the Santa Fe sale proceeds balance and the rents as combined funds, as shown on the waterfall
exhibit and in the Motion. From the combined funds, certain administrative priority expenses are
being paid, and the balance distributed according to the priority but without regard to whether the
creditor does or does not have an interest in the rents.

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1 I declare under penalty of perjury under the laws of the United States of America that
2 || the foregoing is true and correct.

3 Executed this 29" day of March 2021, at Los Angeles, California.

/s/ Giovanni Orantes
Giovanni Orantes, Esq.

“I ON OW

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EXHIBIT “1”
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2:20°BR-P7433'| JGAG UK Byun

Total Claimed Last
# Original File Date Creditor
Amount Updated
21 10/07/2021 Marco Rivera $2,000,000.00 10/07/2021
20 02/01/2021 U.S. Small Business Administration $96,904.91 08/24/2021
19 12/21/2020 Hyundai Steel Company $26,435,749.08 08/24/2021
18 12/15/2020 Kap Chan Chong $97,773.38 08/24/2021
17 12/15/2020 Allen Park $144,777.78 08/24/2021
16 12/15/2020 Mohamed Sanfaz $465,488.43 08/24/2021
15 12/15/2020 Bae Family Trust $1,517,633.33 08/24/2021
14 12/15/2020 M&A Equitiies, LLC $646,612.10 08/24/2021
13 12/15/2020 Packo Investments $2,712,136.53 08/24/2021
12 12/10/2020 Toni Ko $1,295,460.25 11/29/2021
11 11/16/2020 Bank of Hope $460,140.29 08/24/2021
10 10/19/2020 QuarterSpot, Inc $229,612.92 08/24/2021
9 10/05/2020 Resnik Hayes Moradi LLP $74,859.50 08/24/2021
8 09/29/2020 Quantum3 Group LLC as agent for $35.02 08/24/2021
7 09/23/2020 Internal Revenue Service $0.00 08/24/2021
6 09/08/2020 State Compensation Insurance Fund $184,726.52 08/24/2021
5 09/02/2020 COUNTY OF SAN BERNARDINO $56,635.33 08/24/2021
4 09/02/2020 Southern Counties Oil, Co. $14,213.24 08/24/2021
3 08/25/2020 Wells Fargo Bank N.A., d/b/a Wells Fargo Auto $15,351.27 08/24/2021
2 08/20/2020 LOS ANGELES COUNTY TREASURER AND TAX $1,235,887.32 08/24/2021
COLLECTOR
1 08/20/2020 LOS ANGELES COUNTY TREASURER AND TAX $453,592.48 03/15/2022

COLLECTOR

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